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                                                                      Tuesday, 10 July, 2018 02:34:34 PM
                                                                           Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

 ANDREW MINIK, JOEL VALDEZ, and
 BLAIR NELSON,

                        Plaintiffs,

 vs.                                                   Case No. 2:18-cv-02101-CSB-EIL

 (1) BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS, including
 RAMON CEPEDA, DONALD J. EDWARDS,
 PATRICK J. FITZGERALD, STUART C.
 KING, TIMOTHY KORITZ, EDWARD L.
 MCMILLAN, JAMES D. MONTGOMERY,
 SR., JILL B. SMART, TRAYSHAWN M.W.
 MITCHELL, KARINA REYES, EDWIN
 ROBLES,        and      GOVERNOR           BRUCE
 RAUNER, (2) TIMOTHY KILLEEN, President
 of the University of Illinois, in his official
 capacity, (3) ROBERT J. JONES, Vice-
 President of the University of Illinois and
 Chancellor for the University of Illinois
 Urbana-Champaign campus, (4) RONY DIE,
 Assistant Dean of Students of the University of
 Illinois at Urbana-Champaign, in his official
 capacity; (5) TARIQ KHAN, Graduate
 Instructor in his official and individual capacity,

                        Defendants.

                      REPORT OF RULE 26(f) PLANNING MEETING

       Plaintiffs being represented by Whitman H. Brisky of Mauck & Baker, LLC; Defendants

Board of Trustees of the University of Illinois, Timothy Killeen, President of the University of

Illinois, Robert J. Jones, Vice President of the University of Illinois and Chancellor for the

Urbana-Champaign Campus, and Rony Die, Assistant Dean of Students of the University of

Illinois at Urbana-Champaign being represented by Charles R. Schmadeke of Hinshaw &

Culbertson LLP; and Defendant Tariq Khan being represented by Ellyn J. Bullock of Solberg &


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Bullock, LLC, counsel, conferred on July 6, 2018, for the purpose of formulating a proposed

discovery calendar for consideration by the Court. The following are dates upon which counsel

have agreed. The parties agreed that a trial date in February 2020 would be appropriate.

        1.       Parties will exchange initial disclosures pursuant to FED. R. CIV. P. 26(a)(1) by

July 20, 2018.

        2.       The deadline for amendment of pleadings is September 4, 2018.

        3.       The deadline for joining additional parties is September 4, 2018.

        4.       The parties shall disclose experts and provide expert reports by July 1, 2019, and

shall make any such experts available for deposition by August 1, 2019.

        5.       All discovery, including deposition of experts, is to be completed by October 31,

2019.

        6.       The deadline for filing case dispositive motions shall be December 2, 2019.

        7.       The parties agreed to reserve issues regarding the discovery of electronically

stored information and that, if such issues arise, they will confer to attempt to resolve any

differences.

Andrew Minik, Joel Valdez, & Blair Nelson,            Board of Trustees of the University of Illinois,
Plaintiffs                                            Timothy Killeen, President of the University
                                                      of Illinois, Robert J. Jones, Vice President of
                                                      the University of Illinois and Chancellor for
                                                      the Urbana-Champaign Campus, and Rony Die,
By /s/Whitman H. Brisky                               Assistant Dean of Students of the University
  Whitman H. Brisky                                   of Illinois at Urbana-Champaign,
  Mauck & Baker, LLC
  One No. LaSalle, Suite 600
  Chicago, IL 60602
                                                      By /s/Charles R. Schmadeke
                                                        Charles R. Schmadeke
                                                        Hinshaw & Culbertson LLP
                                                        400 South Ninth Street, Suite 200
                                                        Springfield, IL 62701



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                                    Tariq Khan, Defendant,



                                    By /s/Ellyn J. Bullock
                                      Ellyn J. Bullock
                                      Solberg & Bullock, LLC
                                      100 N. Chestnut Street, Suite 230
                                      Champaign, IL 61820




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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2018, I electronically filed the foregoing REPORT OF
RULE 26(F) PLANNING MEETING with the Clerk of Court using the CM/ECF system and
served upon counsel of record:

Whitman H. Brisky                  Email: wbrisky@mauckbaker.com

Ellyn J Bullock                    Email: ellyn@solbergbullock.com



                                                  /s/Charles R. Schmadeke
                                                  Charles R. Schmadeke (#2489813
                                                  Hinshaw & Culbertson LLP
                                                  400 South Ninth Street, Suite 200
                                                  Springfield, IL 62701
                                                  Telephone: 217-528-7375
                                                  Facsimile: 217-528-0075
                                                  Email: cschmadeke@hinshawlaw.com




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